Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 1 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 2 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 3 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 4 of 45




               DE ## 154-157 resolved.


        January 12       1




                                         /s/ Laura Taylor Swain
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 5 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 6 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 7 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 8 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 9 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 10 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 11 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 12 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 13 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 14 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 15 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 16 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 17 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 18 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 19 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 20 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 21 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 22 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 23 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 24 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 25 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 26 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 27 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 28 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 29 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 30 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 31 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 32 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 33 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 34 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 35 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 36 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 37 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 38 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 39 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 40 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 41 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 42 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 43 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 44 of 45
Case 1:16-cv-00444-LTS-OTW Document 158
                                    156 Filed 01/12/21
                                              12/23/20 Page 45 of 45
